Case 1:22-cv-03575-JMF Document 1-1 Filed 05/03/22 Page 1 of 5




                 COMPLAINT CLAIM CHART
                 Case 1:22-cv-03575-JMF Document 1-1 Filed 05/03/22 Page 2 of 5




US9009113        Tidal
B1
Claim 27

27. A
computer
implemented
method for
receiving
commands
from an
artist to
update a
dynamic
album at a
user device
that includes
a set of
songs stored
in relation to
and played
by an artist
specific
application
associated
with the
artist, the
method
being
implemented
on a
computer
system
having one
or more          <https://tidal.com/>
physical         Tidal has a method for receiving commands from an artist to update a dynamic album at a user
processors       device that includes a set of songs stored in relation to and played by an artist specific application
programmed       associated with the artist.
with             The reference includes subject matter disclosed by the claims of the patent after the priority date.
computer
program
instructions
that, when
executed by
                Case 1:22-cv-03575-JMF Document 1-1 Filed 05/03/22 Page 3 of 5




the one or
more
physical
processors,
cause the
computer
system to
perform the
method, the
method
comprising:

US9009113 B1           Tidal
Claim 27


receiving, by the
computer system,
from the artist, one
or more commands
that specify a
change to be made
to the dynamic
album played at the
user device through
the artist specific
application
associated with the
artist;                <https://support.tidal.com/hc/en-us/articles/360000702697-My-Mix>
                       The reference describes receiving from the artist, one or more commands that specify a
                       change to be made to the dynamic album played at the user device through the artist
                       specific application associated with the artist.
US9009113 B1
                Case Tidal
                     1:22-cv-03575-JMF Document 1-1 Filed 05/03/22 Page 4 of 5
Claim 27


generating, by the
computer system,
one or more album
parameters used to
change the dynamic
album based on the
one or more
commands; and




                       <https://support.tidal.com/hc/en-us/articles/360000702697-My-Mix>
                       The reference describes generating one or more album parameters used to change the
                       dynamic album based on the one or more commands.

US9009113 B1           Tidal
Claim 27


providing, by the
computer system,
the one or more
album parameters
to at least the user
device remote from
the computer
system at which the
artist specific
application is
installed, wherein
the one or more
album parameters
cause the user
device to change
the dynamic album
in association with
the artist specific
application without
intervention by a
                   Case 1:22-cv-03575-JMF Document 1-1 Filed 05/03/22 Page 5 of 5




user of the user       <https://support.tidal.com/hc/en-us/articles/360000702697-My-Mix>
device.                The reference describes providing the one or more album parameters to at least the user
                       device remote from the computer system at which the artist specific application is
                       installed, wherein the one or more album parameters cause the user device to change the
                       dynamic album in association with the artist specific application without intervention by a
                       user of the user device.
